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                                                                    Conserving the Peace




                                            WASHINGTON COUNTY
                                                      Pat Gan-ett, Sheriff




                                             Memorandum
 DATE: TBW

TO: Sheriff Pat Garrett (via Chief Deputy Shawn Fischer)

FROM: Lt. John R. Black; Lead Investigator

RE: IA2015-0004; N. Markos



                                                  Overview

        This memorandum documents a complex internal affairs (IA) investigation related to potential

WCSO and Washington County policy violations. The investigation spans dates ranging from April 2015

to September 2016. Additionally noted is that the investigation itself considered events related to

potential policy misconduct occurring, and some cases, going back approximately six years. Due to the

sensitivity of the allegations being investigated, a single investigator was utilized (Lt. John R. Black) as

a means to compartmentalize and protect victims and employees rights and to prevent any potential

stigmatization. It should be noted that Lt. Black is a trained internal affairs investigator, served as an IA

sergeant for over three years, and also oversaw the Services Division which houses professional

standards and internal affairs for well over three years. Lt. Black is currently assigned as the

investigations Lt. (West) and has been so for over six years. Lt. Black is thoroughly familiar with the

constraints, requirements, and sensitivity of conducting both criminal and internal affairs investigation.

        Subsequently, Lt. Black served as the primary investigator as well as the primary point of

contact (POC) with the PPB as related to this investigation. As shown by the below timeline, in April

2015, Lt. Black was directed by the Sheriff and then Chief Deputy (CD) Bill Steele (who has been

replaced by CD Shawn Fischer when he was recently selected to be the police chief of the Tualatin

Police Department) to start an initial investigation in reference to the alleged misconduct communicated

to them via an initial email to the Sheriff and the Oregonian in April, 2015. Alleged in this initial email

was the accusation that multiple employees of the WCSO had engaged in conduct, that if proven to be

true, could be considered criminal in nature as well as potential violations ofWCSO policies and

Washington County rules and regulations.




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        Between April 17, 2015 and April 21, 2015, Lt. Black conducted a series of initial interviews to

determine whether there was any merit in the allegations proposed within the initial email as well as to

ensure the safety of any persons/employees that could be considered victims of inappropriate behavior.

From the initial interviews, Lt. Black concluded there was at a minimum reasonable suspicion to

conduct further investigations into potential criminal conduct as well as internal policy violations. Lt.

Black reported these conclusions through the chain of command and a determination was made to

enlist the aid of PPB to assist with both the criminal and potential future internal affairs investigations.

The use of PPB was due to the need for transparency, the potential conflicts inherent in WCSO

investigating and potentially bring criminal charges against WCSO deputies, and the large number of

persons implicated as either actors/suspects or victims/witnesses. On April 22, 2015 PPB Detectives

Myers and Wollstein were assigned as the primary criminal investigators for the related criminal

investigations. Additionally, on April 22, 2015 Detectives Wollstein and Myers met with Lt. Black and the

WCSO chain of command. Lt. Black briefed the PPB Detectives and then gave them digital copies of all

prior conducted interviews as well as additional employee information and a digital flowchart of the

current state of the investigation. At this time, Lt. Black was directed to suspend any and all internal

investigations in order to allow the criminal investigations of PPB to be conducted. However, Lt. Black

was also directed to assist the criminal investigators to provide them with any information they should

need, the arranging of potential interviews, and to act as a liaison for PPB and their criminal

investigation. It is important to note that the initial criminal investigation was a single investigation by

PPB involving multiple actors/subjects, investigating multiple crimes, involving multiple related victims

and witnesses, and that many of the actors, victims and witnesses were interrelated or involved in more

than one incident.
        PPB submitted their initial investigation to the Multnomah County district attorney in September

2015. Subsequently, criminal investigation and prosecution continued as related to the PPB

investigation until July 2016 by which time D. Cardinal, D. Berquist, and J. Christensen had all resigned

from the WCSO as well as pled to and resolved their individual criminal matters. J. Christensen was not

sentenced until September 2016. In preparation for the transition from criminal to internal affairs

investigation, Lt. Black began to meet with the PPB Detectives on February 10, 2016 as they

approached the end of their active investigations of their criminal cases related to the future IA

investigation.




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        Due to the comprehensive and exhaustive nature of the PPB investigations (resulting in well

over 1800 pages of evidence), Lt. Black proceeded to do an initial review in order to plan for, assign,

delegate, and conduct the needed internal investigations indicated by the initial criminal investigation.

On March 8, 2016, Lt. Black met with Detective B. Renna of the PPB IA Division who was then

assigned as the lead PPB IA investigator to assist Lt. Black and began to coordinate future IA

investigations.

        On/around March 23, 2016, Lt. Black was provided digital, and related physical evidence of the

criminal investigations related to D. Cardinal, D. Berquist, J. Christensen, and N. Markos. Noted is that

due to the sensitivity of the information provided, Lt. Black provided a copy to County Counsel Elmer

Dickens. Currently, the only two copies of the criminal investigative record of PPB as well as the IA

investigative record for this IA investigation (and related IA investigations) exist with Lt. Black and Elmer

Dickens. These initial reports were reviewed for potential misconduct. When appropriate, either SRI Ms

or lAs were initiated, and to date this investigation has resulted in XX SRIM or IA investigations in

addition to the criminal prosecution of three former WCSO employees. Between March 28th and April

14th an initial review of all reports/evidence was completed by Lt. Black.

        On April 15, 2016, an internal meeting involving Lt. Black and WCSO command was conducted

in order to determine the way ahead and provide guidance for the subsequent internal affairs

investigations. It was decided by WCSO command that Detective Renna would assist Lt. Black with any

of the more severe allegations of policy misconduct and that the lower levels of potential policy

misconduct indicated would be assigned to other investigators within the WCSO. Detective Renna and

Lt. Black's primary focus would be on the potential misconduct of N. Markos.

        Subsequent to the ongoing IA investigation of N. Markos, several other outcomes occurred in

tandem. First, additional and related IA investigations were started stemming from the overarching IA

investigation of N. Markos. Second, additional related supervisor related inquiry memos (SRIM's) were

also initiated. Finally, a criminal investigation (not related to the initial criminal investigation by PPB) on

N. Markos was initiated, which was/is handled by the original PPB criminal investigators and remains

pending to date. These subsequent and related investigations as well as the primary investigation of

IA2015-0004 involved additional interviews, review of additional evidence, and additional coordination.

Ultimately, the related and intertwined investigation documentation resulted in over 3,300 pages of

reports and evidence.




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          In August and September 2016, during the ongoing IA investigation of N. Markos, several key

interviews produced critical evidence as related to the allegations. These interviews (primary witnesses

of S. Parrish and K. Marsden) were transcribed and are included within this case file. Subsequent to

these interviews, due to the breadth and scope of potential misconduct by N. Markos, it was decided

that some of the most potentially egregious aspects of misconduct would be investigated first, while

additional potential misconduct could be reassigned to alternate investigators as their own individual

and separate internal affairs investigations if warranted. This memorandum deals with N. Marko's

potential misconduct related to untruthfulness, failure to act on known criminal behavior, and the related

concepts of potential negligence in the duty to enforce laws as well as negligent performance of
duties.

          It should be noted that this case file includes both materials and interviews related to the

potential proof of the allegation of misconduct as well as potentially exculpatory materials or interviews.

However, also noted is that due to the extensive and intertwined nature of the IA investigations, and the

fact that some IA investigations are still active, not every transcript, piece of evidence, or interview is

included.

Timeline:

          The following timeline is offered. The timeline reflects key dates related to or that impacted this

investigation. Dates depicted are as accurate as possible in the timeline and does not contain all dates

related to this investigation.

                                                         2015

    1. Initial email to Sheriff alleging misconduct April 17, 2015

   2. Start of initial internal investigation (SRI M) April 17, 2015

   3. Assignment of initial investigators for IA2015-0004 April 30, 2015

   4. IA Notice to N. Markos (Prior to criminal investigation) April 30, 2015

   5. Hand off to Portland Police Bureau (PPB) to address potential

             criminal investigation/internal affairs (IA) investigation. Initial primary

             subjects are D. Cardinal, J. Christensen, D. Berquist, and N. Markos April 22-30, 2015

   6. Termination of J. Christensen August 12, 2015



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                                                   2016

    7. Resolution of criminal case; D. Cardinal                                            January 21,2016

    8. PPB criminal investigations mostly complete;

           IA investigation planning/coordination (WCSO & PPB investigators)              February 10, 2016

    9. Resignation of D .Berquist                                                            March 18, 2016

    10. Resolution of criminal case; D. Berquist                                             March 22, 2016

    11. WCSO coordinates with PPB for subsequent IA investigations

           stemming from criminal investigations                                      Start on March 8, 2016

    12. Digital copy of all evidence/reports from PPB to Lt. Black via both PPB IA unit and PPB

       detectives.                               March                    23,              2016

    13. Initial review of all reports/evidence                                    March28-April15,2016

    14. Resignation of D. Cardinal                                                                 May 01, 2016

    15. IA Notice to N. Markos (Subsequent to Criminal investigation)                              May 12, 2016

    16. Additional criminal investigation via PPB started on N. Markos           On/around May 23, 2016

   17. Parallel investigation started IA2016-0002 (active/ongoing)                             June 03, 2016

   18. Plea to criminal case; J. Christensen                                                       July 12, 2016

   19. Criminal Sentencing; J. Christensen                                             September 06, 2016

   20. Key interview; K. Marsden                                                        September 09, 2016

   21. Key interview; S. Parrish                                                       September 26, 2016

   22. Key interviews; N. Markos                            September 21, 2016 & September 28,2016



Organization of this Document and Memprandum

       This memorandum serves as a summary document for the internal affairs investigation of N.

Markos. The entire case file is provided by means of an Adobe Acrobat E-portfolio allowing for ease of




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navigation and access. The electronic case file contains digital copies of all reference interviews and

transcripts, related IA correspondence, copies of policies and regulations in question, referenced or

related evidence offered, and related criminal reporting. The electronic case file utilizes bookmarking

and links as a means to access to any referenced or cited portion within specific interviews. The E-

portfolio/case file is not intended to represent all aspects, evidence, or documentation of all related

investigations.

       This memorandum is organized by first giving a general overview, followed by a summary of

allegations. Allegations are broken down by the specific alleged policy in which a violation may or may

not have occurred, then followed by the related investigation to the allegation, discussion, and finally a

conclusion by the author, Lt. Black. This format is followed for each allegation. Following the summary

of allegation section, any additional actions or related aspects of this investigation is documented. The

primary author of this document is Lt. Black with full input from Detective Renna.




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